                   IN THE DISTRICT COURT OF THE UNITED STATES
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION



UNITED STATES OF AMERICA                     )
                                             )
vs.                                          )       CR. NO. 3:14-cr-00126-MHT-TFM
                                             )
YASHICA ROBINSON WHITE, M.D.                 )



                     UNITED STATES OF AMERICA’S MOTION TO
                        DISMISS SUPERSEDING INDICTMENT

       Comes now the United States of America, by and through George L. Beck, Jr., United

States Attorney for the Middle District of Alabama, pursuant to Rule 48(a) of the Federal Rules

of Criminal Procedure, and moves to dismiss the superseding indictment as to defendant Yashica

Robinson White, M.D., and in support thereof states as follows:

       1. Rule 48(a) provides that “[t]he government may, with leave of the court, dismiss an

indictment, information or complaint.” Fed.R.Crim.P. 48(a).

       2. As noted in the defendant’s pending motion to dismiss and the government’s response

thereto in this case, there is ongoing review about the charging practices of the Department of

Justice with respect to violations of 21 U.S.C. § 331(a), which review has yet to be resolved.

       3. Although the United States is satisfied that any issues in this case were resolved by

return of the superseding indictment in this matter, the parties have agreed to an alternative

resolution of the dispute in this case which does not involve or necessitate proceeding any further

on the pending criminal charges. Moreover, the parties hereby advise the Court pursuant to its

order entered February 23, 2015, that this resolution does not require any hearing on the

defendant’s motion to dismiss pending before the Court,
       4. Accordingly, in the exercise of prosecutorial discretion, the United States now moves

to dismiss the original indictment (which was legally rendered a nullity in any event by the return

of the superseding indictment) and the superseding indictment with prejudice.

       Respectfully submitted this the 27th day of February, 2015.

                                                     GEORGE L. BECK, JR.
                                                     UNITED STATES ATTORNEY

                                                     /s/Robert G. Anderson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 27, 2015, I electronically filed the foregoing motion

with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to the following: All attorneys of record.



                                                     Respectfully submitted,

                                                     /s/Robert G. Anderson
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